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           IN THE CIRCUIT COURT OF THE STATE OF OREGON

                 IN AND FOR THE COUNTY OF JACKSON

                 BEFORE THE HONORABLE JUDGE BLOOM



                  ARNAUD PARIS,

                Petitioner,

      v.                                      No.   23DR08269

    HEIDI MARIE BROWN,

                Respondent.



    HEIDI MARIE BROWN,

                Petitioner,

        v.                                    No.   22DR17285

    ARNAUD PARIS,

                Respondent.



                        EXCERPT OF PROCEEDINGS

                              July 12,    2023




    APPEARANCES:

    For Petitioner Paris:        MR.     ARNAUD PARIS,       PRO PER

    For Petitioner/Respondent Brown: MR. TAYLOR MURDOCH

    For Respondent Paris: MR. THOMAS BITTNER


    Transcribed
    from audio by:         Arnaud PARIS




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Transcript July 12, 2023

11 :21.00

Tom Bittner: I'd like to ask you when were you first contacted about representing
Miss Brown?

Noemie Huchet Tran: Well I'm not representing Miss Brown, I'm just acting as an
expert witness but I was contacted in February 2022, by huh ... first I received a call
from her French attorney, Clemence Brassens, and then she just turned to me to
Ryan Carty her former US attorney.

B: Ok. So Miss Brown contacts as her lawyer, Mr Carty and her French lawyer,
contacted you February 2022 about hiring your services.

HT: Yes, yes she called me to ask me if I would agree to be an expert witness. Yes

B: Ok, and are you familiar with the lawyer that contacted you?

HT: Clemence Brassens not really.

B: Ok alright, so that now that lawyer apparently at some point resigned from the
case. Is that correct. Sorry now I got confused I though that Clemence Brassens
represented Miss Brown at the March hearing, correct?

11 :22:40

HT: Yeah, that's what the decision says, Clemence Brassens represented Miss
Brown.

B: Well it is your testimony that Clemence Brassens, that she contacted you in
February of the past year to be an expert witness for Miss Brown.

HT: Yeah let me check that. .. yes it was the 13 of february 2023, and then I was just
in contact with Ryan the next day.

B: Ok. And you are positive that it was Clemence Brassens in February.

HT: Well. Yes but she didn't seem to know the case cause she told me that. .. well
basically she said she didn't have the whole file yet. It was very brief, I don't know if
she was officially retained or not in the case. She just told me I have a new case,
could you intervene as an expert witness.




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